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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Jane Doe I, et al.
                             Plaintiff,
v.                                                 Case No.: 1:18−cv−03201
                                                   Honorable Virginia M. Kendall
Casino Cruz, et al.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 8, 2019:


       MINUTE entry before the Honorable Young B. Kim: In−person settlement
conference held and progress made but not enough to resolve the matter. Parties are to
continue with fact discovery. Parties are free to call or email the court if there is any
change to their settlement position. Mailed notice (ma,)




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